Case 2:15-cv-00634-SPC-MRM Document 35 Filed 02/04/16 Page 1 of 5 PageID 116




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

PATRICK LORNE FARRELL,

                   Plaintiff,

v.                                                             Case No: 2:15-cv-634-FtM-38MRM

LEE COUNTY JUSTICE CENTER,
SHERRA WINESETT, JOHN
DURYEA, GREGORY GOETZ,
BRADLEY ARANT LAW FIRM,
MONICA WILSON, MARK AYERS,
ROBERTSON ANSCHUTZ LAW
FIRM, LINDA DOGGETT, CRAIG
VILLANTI, CHRISTINA MCADAMS,
JOHN TOMASINO, JOHN STUMPF,
WILLIAM ERBEY, OCWEN LOAN
and JOHN CARLIN,

                  Defendants.
                                                   /

                                                 ORDER1

          This matter comes before the Court on review of the docket. Plaintiff Patrick Lorne

Farrell is a serial litigant. A search for Plaintiff’s name in the CM/ECF records reveals

that he has filed no less than sixteen actions in this District, dating back to 2001. Nearly

every single one of the cases was dismissed as frivolous. In 2015, in a separate action,

this Court entered a Matrin-Trigona Injunction2 (“Injunction”) against Plaintiff. See Farrell




1 Disclaimer: Documents filed in CM/ECF may contain hyperlinks to other documents or websites. These
hyperlinks are provided only for users’ convenience. Users are cautioned that hyperlinked documents in
CM/ECF are subject to PACER fees. By allowing hyperlinks to other websites, this Court does not
endorse, recommend, approve, or guarantee any third parties or the services or products they provide on
their websites. Likewise, the Court has no agreements with any of these third parties or their websites.
The Court accepts no responsibility for the availability or functionality of any hyperlink. Thus, the fact that
a hyperlink ceases to work or directs the user to some other site does not affect the opinion of the Court.
2   See Martin-Trigona v. Shaw, 986 F.2d 1384 (11th Cir. 1993).
Case 2:15-cv-00634-SPC-MRM Document 35 Filed 02/04/16 Page 2 of 5 PageID 117




v. Florida, No. 2:15-cv-41-FtM-38CM, ECF No. 32 (M.D. Fla. May 21, 2015). This

Injunction prevented Plaintiff “from filing future complaints unless he has obtained leave

of this Court to file a complaint pro se or the complaint is filed on his behalf by an attorney

who is a member of the bar of this Court.” Id. (citation omitted). While the Court discussed

the Injunction in terms of state actors at the time it was entered, the Court now clarifies

that the Injunction was intended to apply to every new action that Plaintiff files pro se in

the future. Of course, Plaintiff cannot be completely foreclosed from accessing this Court.

Nor is that the Court’s intention. However, because of the Plaintiff’s prior litigious and

frivolous filings, the Court will set forth the following pre-filing screening procedure3 which

must be followed by the Plaintiff in all future filings.

        At this time, the Clerk will be directed to open, and keep open, a miscellaneous

case file entitled “In re: Farrell” with the first docket entry being the instant Order.

Subsequently, if a Motion Pursuant to Court Order Seeking Leave to File is accepted for

filing by the Clerk, the procedures set forth below will be followed.

                  Pre-Filing Screening Procedure for Plaintiff’s Future Filings

        1. When Plaintiff seeks to file a new action, he must file a motion entitled “Motion

            Pursuant to Court Order Seeking Leave to File” and submit the proposed

            complaint or other initiating document (“new complaint”) for review.

        2. As an exhibit to the Motion, Plaintiff must attach a copy of this Order.


3   Nearly every circuit, including the Eleventh Circuit, has allowed procedures of this nature for pro se
litigants who have filed numerous frivolous actions. See, e.g., Martin-Trigona, 986 F.2d at 1384; Gordon
v. U.S. Dep’t of Justice, 558 F.2d 618 (1st Cir. 1977); In re: Martin-Trigona, 763 F.2d 140 (2d Cir. 1985);
Gambocz v. Yelncsics, 468 F.2d 837 (3d Cir. 1972); Armstrong v. Koury Corp., 211 F.3d 1264 (4th Cir.
2000); Baum v. Blue Moon Ventures, LLC, 513 F.3d 181 (5th Cir. 2008); In re Chapman, 328 F.3d 903 (7th
Cir. 2003); Cotner v. Hopkins, 795 F.2d 900 (10th Cir. 1986); Martin-Trigona v. United States, 779 F.2d 72,
74 (D.C. Cir. 1985).




                                                    2
Case 2:15-cv-00634-SPC-MRM Document 35 Filed 02/04/16 Page 3 of 5 PageID 118




       3. As an additional exhibit to the Motion, Plaintiff must attach a declaration which

           has been prepared pursuant to 28 U.S.C. § 1746 or a sworn affidavit certifying

           that (1) the document raises a new issue which has never been previously

           raised by him in this or any other court; (2) the claim or issue is not frivolous,

           vexatious, or harassing; and (3) the document is not filed in bad faith.

       Should the Plaintiff not follow the procedure set forth above, the Clerk’s Office is

directed to reject any new complaint submitted for filing by returning the new complaint to

Plaintiff and making an entry on the docket in the miscellaneous case file to reflect that a

new complaint was rejected and returned for failure to comply with the pre-filing screening

procedures.

       In the event Plaintiff meets the pre-filing procedures, the Clerk shall file the Motion,

and attach to the Motion as exhibits the proposed new complaint, this Order, and the

declaration.   The Court will address the motion to determine whether the attached

proposed new complaint is frivolous, vexatious, or harassing. If the Court determines that

the new complaint is frivolous, vexatious, or harassing, the motion will be denied, and the

new complaint will not be filed in a separate civil action.

        If, however, the Court determines that the new complaint is not frivolous,

vexatious, or harassing, then the Court will grant the motion and direct the Clerk to open

a new civil case and file the new complaint as of the date of the Motion with a copy of the

Order granting the Motion attached as an exhibit. The Clerk shall not accept any filing

fees, cover sheets, or any other documents, including service forms, unless and until

leave is granted. If leave is granted and the new complaint is filed in a new civil case,

Plaintiff will be responsible for the normal civil case filing fee.




                                                3
Case 2:15-cv-00634-SPC-MRM Document 35 Filed 02/04/16 Page 4 of 5 PageID 119




       Each time Plaintiff files a “Motion Pursuant to Court Order Seeking Leave to File”,

and follows the Court’s procedure set forth in this Order, the Clerk is directed to file the

Motion in the previously opened “In re: Farrell” miscellaneous action. The Court will then

follow the same procedure as previously outlined above.

       Plaintiff’s failure to comply with the terms of this Order shall be sufficient grounds

for this Court to deny any motion for leave to file, and may be considered an act of

contempt for which Plaintiff may be sanctioned accordingly. This pre-filing screening

procedure will not apply if a new complaint is filed on Plaintiff’s behalf by an attorney who

is a member in good standing of the bar of this Court.

             The Court Exercises its Authority to Sua Sponte Dismiss this Action

       “A district court has the inherent authority to manage its own docket, so as to

achieve the orderly and expeditious disposition of cases.” Equity Lifestyle Props., Inc. v.

Fla. Mowing & Landscape Serv., Inc., 556 F.3d 1232, 1240 (11th Cir. 2009) (citation

omitted).    It is assumed this authority includes the ability to dismiss frivolous actions sua

sponte even when the filing fee has been paid. See Wilkerson v. Georgia, 618 F. App'x

610, 611 (11th Cir. 2015) (“[W]e assume without deciding that a district court has the

inherent authority to dismiss a frivolous complaint sua sponte even when, as here, the

plaintiff has paid the required filing fee.”). Here, the Court chooses to exercise that

authority.

       Explained in the simplest of terms, Plaintiff’s Complaint seeks to prevent the

foreclosure of his residence. Plaintiff’s choice of Defendants runs the gamut, ranging from

judges to court staff to corporate executives. The allegations asserted in the Complaint

mix relevant facts, irrelevant facts, disjointed narrative, conclusory accusations, and legal




                                               4
Case 2:15-cv-00634-SPC-MRM Document 35 Filed 02/04/16 Page 5 of 5 PageID 120




argument. The Court finds that these allegations are frivolous and that this action must

be dismissed.

      Accordingly, it is now

      ORDERED:

      1. Plaintiff Patrick Lorne Farrell’s Complaint (Doc. #1) is DISMISSED.

      2. The Plaintiff Patrick Lorne Farrell is advised that for any future filings he must

          follow the pre-filing screening procedure set forth in this Order.

      3. The Clerk shall open a miscellaneous case entitled “In re: Farrell” containing

          this Order as the first docket entry.

      4. Upon submission of a Motion Pursuant to Court Order Seeking Leave to File,

          the Clerk shall follow the procedures set forth in this Order for any future new

          case filings made by Plaintiff Patrick Lorne Farrell.

      5. The Clerk is further directed to MAIL a copy of this Order and the Court’s May

          21, 2015 Order in 2:15-cv-41-FTM-38CM (Doc. #32) to Plaintiff Patrick Lorne

          Farrell, TERMINATE any pending motions or deadlines, ENTER judgment

          accordingly, and CLOSE this file.

      DONE and ORDERED in Fort Myers, Florida, this 4th day of February, 2016.




Copies: All Parties of Record




                                              5
